                  Case: 25-1113, 05/01/2025, DktEntry: 1.1, Page 1 of 9
           2:25-cv-00389-gwc Document 55 Filed 04/30/25 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                                DISTRICT OF VERMONT


 MOHSEN MAHDAWI,

                             Petitioner,

                v.                                                    No. 2:25-cv-389

 DONALD J. TRUMP, in his official capacity as
 President of the United States; PATRICIA
 HYDE, in her official capacity as Acting Field
 Office Director; Vermont Sub-Office Director of
 Immigration and Customs Enforcement; TODD
 M. LYONS, in his official capacity as Acting
 Director for U.S. Immigration and Customs
 Enforcement; KRISTI NOEM, in her official
 capacity as Secretary of the United States
 Department of Homeland Security; MARCO
 RUBIO, in his official capacity as Secretary of
 State; and PAMELA BONDI, in her official
 capacity as Attorney General of the United
 States,

                             Respondents.


                            RESPONDENTS’ NOTICE OF APPEAL

       PLEASE TAKE NOTICE that all named Respondents hereby appeal to the United

States Court of Appeals for the Second Circuit from the Court’s Orders of April 24, 2025 (ECF

No. 34, extending the temporary restraining order) and of April 30, 2025 (ECF No. 54,

accepting jurisdiction, ordering Petitioner’s release under Mapp v. Reno, and denying motion

for stay pending appeal).

                                                   Respectfully submitted,

Dated: April 30, 2025                       By:    /s/ Michael P. Drescher
                                                   Michael P. Drescher
                                                   Acting United States Attorney
                                                   District of Vermont
                 Case: 25-1113, 05/01/2025, DktEntry: 1.1, Page 2 of 9

                                                                                    APPEAL,HABEAS
                                 U.S. District Court
                          District of Vermont (Burlington)
                  CIVIL DOCKET FOR CASE #: 2:25−cv−00389−gwc

Mahdawi v. Trump et al                                       Date Filed: 04/14/2025
Assigned to: District Judge Geoffrey W. Crawford             Jury Demand: None
Cause: 8:1105(a) Aliens: Habeas Corpus to Release INS        Nature of Suit: 463 Habeas Corpus − Alien
Detainee                                                     Detainee
                                                             Jurisdiction: U.S. Government Defendant
Petitioner
Mohsen Mahdawi                                 represented by Brett M. Kaufman , Esq.
                                                              American Civil Liberties Union
                                                              Foundation
                                                              125 Broad Street, 18th Floor
                                                              New York, NY 10004
                                                              212−549−2603
                                                              Fax: 212−995−4031
                                                              Email: bkaufman@aclu.org
                                                              PRO HAC VICE
                                                              ATTORNEY TO BE NOTICED

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                                                              American Civil Liberties Union
                                                              Foundation
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                                                              Email: bhauss@aclu.org
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                                                              ATTORNEY TO BE NOTICED

                                                              Hillary A. Rich , Esq.
                                                              ACLU Foundation of Vermont
Case: 25-1113, 05/01/2025, DktEntry: 1.1, Page 3 of 9

                                      P.O. Box 277
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                                      315−521−9231
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                                      802−251−7091
                                      Email: mallard@acluvt.org
                                      ATTORNEY TO BE NOTICED

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                                      New York, NY 10004
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                                      Email: nzafar@aclu.org
                                      PRO HAC VICE
                                      ATTORNEY TO BE NOTICED

                                      Shezza Abboushi Dallal , Esq.
                                      Main Street Legal Services Inc.
                                      CLEAR Project
                                      CUNY School of Law
                   Case: 25-1113, 05/01/2025, DktEntry: 1.1, Page 4 of 9

                                                                2 Court Square, Ste 5th Floor
                                                                Long Island City, NY 11101
                                                                718−970−1875
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                                                                ATTORNEY TO BE NOTICED

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                                                                ATTORNEY TO BE NOTICED

                                                                Andrew B. Delaney , Esq.
                                                                Martin Delaney & Ricci Law Group
                                                                100 North Main Street
                                                                P.O. Box 607
                                                                Barre, VT 05641−0607
                                                                802−479−0568
                                                                Fax: 802−479−5414
                                                                Email: andrew@mdrvt.com
                                                                ATTORNEY TO BE NOTICED


V.
Respondent
Donald J. Trump                                represented by Michael P. Drescher , AUSA
in his official capacity as President of the                  United States Attorney's Office
United States                                                 11 Elmwood Avenue, 3rd Floor
                                                              P.O. Box 570
                                                              Burlington, VT 05402−0570
                                                              (802) 951−6725
                                                              Email: michael.drescher@usdoj.gov
                                                              ATTORNEY TO BE NOTICED

Respondent
Patricia Hyde                                  represented by Michael P. Drescher , AUSA
in her official capacity as Acting Boston                     (See above for address)
Field Office Director, Immigration And                        ATTORNEY TO BE NOTICED
Customs Enforcement, Enforcement And
Removal Operations

Respondent
J Doe                                          represented by Michael P. Drescher , AUSA
in official capacity as Vermont                               (See above for address)
Sub−Office Director Of Immigration And                        ATTORNEY TO BE NOTICED
Customs Enforcement, Enforcement And
Removal Operations

Respondent
Todd Lyons                                     represented by Michael P. Drescher , AUSA
in his official capacity as Acting Director,                  (See above for address)
U.S. Immigration And Customs                                  ATTORNEY TO BE NOTICED
Enforcement

Respondent
                                               represented by
                     Case: 25-1113, 05/01/2025, DktEntry: 1.1, Page 5 of 9

Kristi Noem                                                      Michael P. Drescher , AUSA
in her official capacity as Secretary Of                         (See above for address)
The United States Department Of                                  ATTORNEY TO BE NOTICED
Homeland Security

Respondent
Marco A. Rubio                                   represented by Michael P. Drescher , AUSA
in his official capacity as Secretary Of                        (See above for address)
State                                                           ATTORNEY TO BE NOTICED

Respondent
Pamela Bondi                                     represented by Michael P. Drescher , AUSA
in her official capacity as U.S. Attorney                       (See above for address)
General                                                         ATTORNEY TO BE NOTICED


 Date Filed      #     Docket Text
 04/14/2025       1 PETITION for Writ of Habeas Corpus filed by Mohsen Mahdawi. (Filing fee $ 5.)
                    (Attachments: # 1 Civil Cover Sheet)(Delaney, Andrew) (Attachment 1 replaced on
                    4/14/2025) (law). (Entered: 04/14/2025)
 04/14/2025       2 EMERGENCY MOTION for Temporary Restraining Order filed by Mohsen
                    Mahdawi. (Delaney, Andrew) (Main Document 2 replaced and Attachment(s) added
                    on 4/14/2025: # 1 Proposed Order) (law). (Main Document 2 replaced on 4/18/2025)
                    (sjl). (Entered: 04/14/2025)
 04/14/2025       3 CASE assigned to Judge William K. Sessions III. (law) (Entered: 04/14/2025)
 04/14/2025       4 NOTICE OF DOCKET ENTRY CORRECTION re: 1 PETITION for Writ of Habeas
                    Corpus filed by Mohsen Mahdawi. This JS 44 Civil Cover Sheet omitted the related
                    case information and has been replaced. The corrected JS 44 is now attached to 1 and
                    this entry. (law) (Entered: 04/14/2025)
 04/14/2025       5 NOTICE OF DOCKET ENTRY CORRECTION re: 2 EMERGENCY MOTION for
                    Temporary Restraining Order filed by Mohsen Mahdawi. The main document
                    combined the motion and proposed order as a singular PDF. Also, the proposed order
                    has been revised to include a full case caption. The documents have been broken apart
                    and are now separately attached to 2 and this entry. (Attachments: # 1 Proposed Order)
                    (law) (Entered: 04/14/2025)
 04/14/2025            FILING FEE RECEIVED of $5.00. Receipt number 5683. (kac) (Entered: 04/14/2025)
 04/14/2025       6 ORDER granting 2 Emergency Motion for Temporary Restraining Order. Signed by
                    Judge William K. Sessions III on 4/14/2025. (law) (Entered: 04/14/2025)
 04/14/2025       7 MOTION for Appearance Pro Hac Vice of David A. Isaacson (Filing fee $ 150 receipt
                    number AVTDC−2059973) filed by Mohsen Mahdawi (Attachments: # 1 Affidavit of
                    David A. Isaacson, # 2 Certificate of Good Standing) (Delaney, Andrew) Modified on
                    4/14/2025 to clarify attachments (sjl). (Entered: 04/14/2025)
 04/14/2025       8 ORDER granting 7 Motion for Admission Pro Hac Vice of David A. Isaacson. Signed
                    by Judge William K. Sessions III on 4/14/2025. (This is a text−only Order.) (eae)
                    (Entered: 04/14/2025)
 04/15/2025       9 MOTION for Appearance Pro Hac Vice of Luna Droubi (Filing fee $ 150 receipt
                    number AVTDC−2060446) filed by Mohsen Mahdawi (Attachments: # 1 Affidavit of
                    Luna Droubi, # 2 Certificate of Good Standing) (Delaney, Andrew) Modified on
                    4/15/2025 to clarify attachments (sjl). (Entered: 04/15/2025)
 04/15/2025      10 MOTION for Appearance Pro Hac Vice of Cyrus D. Mehta (Filing fee $ 150 receipt
                    number AVTDC−2060453) filed by Mohsen Mahdawi (Attachments: # 1 Affidavit of
                    Cyrus D. Mehta, # 2 Certificate of Good Standing) (Delaney, Andrew) (Entered:
                    04/15/2025)
 04/15/2025      11 NOTICE OF APPEARANCE by Michael P. Drescher, AUSA on behalf of Donald J.
                    Trump, Patricia Hyde, J Doe, Todd Lyons, Kristi Noem, Marco A. Rubio, Pamela
              Case: 25-1113, 05/01/2025, DktEntry: 1.1, Page 6 of 9

                 Bondi.(Drescher, Michael) Filers clarified on 4/15/2025 (law). (Entered: 04/15/2025)
04/15/2025   12 ORDER REASSIGNING CASE. It is found that this is likely not a related case to
                2:25−cv−00374 and the clerk is directed to return this case to the civil wheel for
                random reassignment. Signed by Judge William K. Sessions III on 4/15/2025. (law)
                Modified on 4/15/2025 to clarify text (sjl). (Entered: 04/15/2025)
04/15/2025   13 CASE reassigned to District Judge Geoffrey W. Crawford. (law) (Entered:
                04/15/2025)
04/16/2025   14 ORDER granting 9 and 10 MOTIONS for Admission Pro Hac Vice of Luna Droubi
                and Cyrus D. Mehta respectively. Signed by District Judge Geoffrey W. Crawford on
                4/16/2025. (This is a text−only Order.) (jal) (Entered: 04/16/2025)
04/16/2025   15 NOTICE of Hearing: Status Conference set for 4/23/2025 at 9:00 AM in Burlington
                Courtroom 110 before District Judge Geoffrey W. Crawford. (eh) (Entered:
                04/16/2025)
04/18/2025   16 ORDER: re 15 Notice of Hearing. Counsel shall be prepared to address preliminary
                issues of jurisdiction and detention or release. If necessary, court may allow additional
                briefing after the hearing. Signed by District Judge Geoffrey W. Crawford on
                4/18/2025. (This is a text−only Order.)(jal) (Entered: 04/18/2025)
04/18/2025   17 NOTICE OF DOCKET ENTRY CORRECTION re: 2 EMERGENCY MOTION for
                Temporary Restraining Order. The Main Document has been replaced to include the
                corrected document as an earlier correction omitted the main document. The corrected
                Main Document is now attached to 2 and this entry. (sjl) (Entered: 04/18/2025)
04/21/2025   18 MOTION for Appearance Pro Hac Vice of Matthew Melewski (Filing fee $ 150
                receipt number AVTDC−2063276) filed by Mohsen Mahdawi (Attachments: # 1
                Affidavit of Matthew Melewski # 2 Certificate of Good Standing) (Delaney, Andrew)
                Modified on 4/22/2025 to clarify attachment (sjl). (Entered: 04/21/2025)
04/22/2025   19 MOTION for Release Under Mapp v. Reno with Request for Oral Argument/Hearing
                filed by Mohsen Mahdawi (Attachments: # 1 Exhibit 1 (sealed), # 2 Declaration of
                Mohsen Mahdawi (sealed), # 3 Exhibit 3 (sealed), # 4 Exhibit 4 (sealed)) (Delaney,
                Andrew) Modified on 4/22/2025 to clarify text/attachments and Attachment 1
                replaced) (sjl). (Additional attachment(s) added on 4/22/2025: # 5 Exhibit 1
                (redacted)), # 6 Exhibit 3 (redacted)) (sjl). (Entered: 04/22/2025)
04/22/2025   20 NOTICE OF DOCKET ENTRY CORRECTION re: 19 MOTION for for Release
                Under Mapp v. Reno. Exhibit 1 has been replaced to remove illegible PDF headers.
                The corrected document is now attached to 19 and this entry. (sjl) (Entered:
                04/22/2025)
04/22/2025   21 REVISED NOTICE of Hearing: Status Conference and Hearing on 19 MOTION for
                Release Under Mapp v. Reno set for 4/23/2025 at 09:00 AM in Burlington Courtroom
                110 before District Judge Geoffrey W. Crawford. (Revised only to include hearing on
                Doc. 19 .) (sjl) (Entered: 04/22/2025)
04/22/2025   22 ORDER granting 18 MOTION for Admission Pro Hac Vice of Matthew Melewski.
                Signed by District Judge Geoffrey W. Crawford on 4/22/2025. (This is a text−only
                Order.) (jal) (Entered: 04/22/2025)
04/22/2025   23 MOTION for Leave to File an Amicus Curiae Brief filed by Immigration Lawyers,
                Law Professors, and Scholars (Attachments: # 1 Proposed Amicus Brief, # 2 Appendix
                I, # 3 Appendix II, # 4 Proposed Order) (Stokes, Brett) Modified on 4/22/2025 to
                clarify attachments (sjl). (Attachment 2 replaced on 4/28/2025) (sjl). (Entered:
                04/22/2025)
04/22/2025   24 UNOPPOSED MOTION to File Under Seal Certain Exhibits re: 19 MOTION for
                Release Under Mapp v. Reno filed by Mohsen Mahdawi (Delaney, Andrew) Modified
                on 4/22/2025 to clarify text (sjl). (Entered: 04/22/2025)
04/22/2025   25 MEMORANDUM by Donald J. Trump, Patricia Hyde, J Doe, Todd Lyons, Kristi
                Noem, Marco A. Rubio, Pamela Bondi (Prehearing Submission) re: 1 PETITION for
                Writ of Habeas Corpus. (Drescher, Michael) Modified on 4/22/2025 to clarify text
                (sjl). Modified on 4/23/2025 to update docket event type (sjl). (Entered: 04/22/2025)
              Case: 25-1113, 05/01/2025, DktEntry: 1.1, Page 7 of 9

04/22/2025   26 ORDER granting 23 MOTION for Leave to File an Amicus Curiae Brief. Signed by
                District Judge Geoffrey W. Crawford on 4/22/2025. (This is a text−only Order.) (jal)
                (Entered: 04/22/2025)
04/22/2025   27 NOTICE OF DOCKET ENTRY CORRECTION re: 19 MOTION for Release Under
                Mapp v. Reno filed by Mohsen Mahdawi. Exhibits 1 and 3 have been sealed. Redacted
                versions of Exhibits 1 and 3 are now attached to 19 and this entry. (Attachments: # 1
                Exhibit 3 (redacted)) (sjl) (Entered: 04/22/2025)
04/23/2025   28 MINUTE ENTRY for proceedings held before District Judge Geoffrey W. Crawford:
                Status Conference held on 4/23/2025. Attorneys C. Mehta, D. Isaacson, L. Droubi, M.
                Melewski, and A. Delaney present with petitioner. M. Drescher, AUSA present on
                behalf of respondents. Court makes inquiries and counsel makes statements. Court
                makes findings. ORDERED: 25 Memorandum converted to a Motion to Dismiss
                Under R. 12. Petitioner to file responses within 14 days, respondent to file replies 7
                days thereafter. Motion hearing re: 19 MOTION for Release Under Mapp v. Reno set
                for 4/30/2025 at 9:00 AM in Burlington Courtroom 110 before District Judge Geoffrey
                W. Crawford. Court to issue entry order. (Court Reporter: Johanna Masse) (eh)
                (Entered: 04/23/2025)
04/23/2025   29 NOTICE of Hearing re: 19 MOTION for Release Under Mapp v. Reno. Motion
                Hearing set for 4/30/2025 at 9:00 AM in Burlington Courtroom 110 before District
                Judge Geoffrey W. Crawford. (eh) (Entered: 04/23/2025)
04/23/2025   30 NOTICE OF APPEARANCE by Lia N. Ernst, Esq on behalf of Mohsen
                Mahdawi.(Ernst, Lia) (Entered: 04/23/2025)
04/23/2025   31 NOTICE OF APPEARANCE by Monica H. Allard, Esq on behalf of Mohsen
                Mahdawi.(Allard, Monica) (Entered: 04/23/2025)
04/23/2025   32 NOTICE OF APPEARANCE by Hillary A. Rich, Esq on behalf of Mohsen
                Mahdawi.(Rich, Hillary) (Entered: 04/23/2025)
04/23/2025   33 SCHEDULING ORDER AND ORDER on Motion to File Under Seal (Doc. 24 ). The
                court will resume the hearing on the motion for release on Wednesday, April 30, 2025,
                at 9:00 a.m. The court requires the presence of the petitioner Mr. Mahdawi in court.
                The Government's response to the motion for release shall be filed not later than noon,
                Monday, April 28, 2025. Any reply from the petitioner shall be filed not later than
                noon, Tuesday, April 29, 2025. The court converts the Government's Memorandum
                (Doc. 25 ) to a motion to dismiss the petition under Fed. R. Civ. P. 12. The petitioner's
                response to the motion to dismiss shall be filed not later than May 7, 2025. The
                Government's reply shall be filed not later than May 14, 2025. The court GRANTS the
                motion to file under seal certain exhibits containing personal identifying information
                (Doc. 24 ). In addition, the court has removed identifying information such as
                residence addresses and "A number" identifiers from the petitioner's filings. Signed by
                District Judge Geoffrey W. Crawford on 4/23/2025. (sjl) (Entered: 04/23/2025)
04/24/2025   34 ORDER EXTENDING TEMPORARY RESTRAINING ORDER. The court
                ORDERS that the temporary restraining order issued on the date of Mr. Mahdawi's
                arrest is extended for a period of 90 days or until dismissal of this case or grant of a
                preliminary injunction, whichever is earliest. The court orders that no respondent,
                including any agent or employee, shall remove Mr. Mahdawi from Vermont without
                further order from this court. Signed by District Judge Geoffrey W. Crawford on
                4/23/2025. (sjl) (Entered: 04/24/2025)
04/25/2025   35 MOTION for Leave to File Amicus Brief and MOTION to Expedite filed by E.S.
                (Attachments: # 1 Proposed Amicus Brief)(law) (Entered: 04/25/2025)
04/25/2025   36 UNOPPOSED MOTION for Appearance Pro Hac Vice of Nathan Freed Wessler,
                Brett Max Kaufman, Brian Hauss, Esha Bhandari, Noor Zafar, Sidra Mahfooz (Filing
                fee $ 900 receipt number AVTDC−2065878) filed by Mohsen Mahdawi (Attachments:
                # 1 Affidavit of Nathan Freed Wessler, # 2 Certificate of Good Standing Nathan Freed
                Wessler, # 3 Affidavit of Brett Max Kaufman, # 4 Certificate of Good Standing Brett
                Max Kaufman, # 5 Affidavit of Brian Hauss, # 6 Certificate of Good Standing Brian
                Hauss, # 7 Affidavit of Esha Bhandari, # 8 Certificate of Good Standing Esha
                Bhandari, # 9 Affidavit of Noor Zafar, # 10 Certificate of Good Standing Noor Zafar,
                # 11 Affidavit of Sidra Mahfooz, # 12 Certificate of Good Standing Sidra
                Mahfooz)(Ernst, Lia) Modified to clarify text and Attachment 11 replaced on
              Case: 25-1113, 05/01/2025, DktEntry: 1.1, Page 8 of 9

                 4/28/2025) (sjl). (Entered: 04/25/2025)
04/25/2025   37 UNOPPOSED MOTION for Appearance Pro Hac Vice of Shezza Abboushi Dallal
                (Filing fee $ 150 receipt number AVTDC−2065899) filed by Mohsen Mahdawi
                (Attachments: # 1 Affidavit of Shezza Abboushi Dallal, # 2 Certificate of Good
                Standing) (Ernst, Lia) Modified on 4/28/2025 to clarify text/attachment (sjl). (Entered:
                04/25/2025)
04/28/2025   38 TRANSCRIPT of Status Conference and Motion for Release Hearing held on
                4/23/2025 before Judge Geoffrey W. Crawford. Court Reporter/Transcriber Johanna
                Masse, telephone number 802−951−8102. Transcript may be viewed at the court
                public terminal or purchased through the Court Reporter/Transcriber before the
                deadline for Release of Transcript Restriction. After that date it may be obtained
                through PACER. Redaction Request due 5/22/2025. Redacted Transcript Deadline set
                for 6/2/2025. Release of Transcript Restriction set for 7/31/2025. (sjl) (Entered:
                04/28/2025)
04/28/2025   39 ORDER: re 35 MOTION for Leave to File MOTION to Expedite Ruling; The court
                acknowledges with thanks receipt of this filing and declines to include it in the docket
                of 2:25−CV−389. Signed by District Judge Geoffrey W. Crawford on 4/28/2025. (This
                is a text−only Order.) (jal) (Entered: 04/28/2025)
04/28/2025   40 NOTICE OF DOCKET ENTRY CORRECTION re: 36 UNOPPOSED MOTION for
                Appearance Pro Hac Vice of Nathan Freed Wessler, Brett Max Kaufman, Brian Hauss,
                Esha Bhandari, Noor Zafar, Sidra Mahfooz filed by Mohsen Mahdawi. The Affidavit
                of Sidra Mahfooz has been replaced to correct the PDF size and to remove illegible
                PDF headers. The corrected document is now attached to 36 and this entry. (sjl)
                (Entered: 04/28/2025)
04/28/2025   41 ORDER granting 37 MOTION for Admission Pro Hac Vice of Shezza Abboushi
                Dallal. Signed by District Judge Geoffrey W. Crawford on 4/28/2025. (This is a
                text−only Order.) (jal) (Entered: 04/28/2025)
04/28/2025   42 RESPONSE in Opposition re 19 MOTION for Release Under Mapp v. Reno filed by
                Donald J. Trump, Patricia Hyde, J Doe, Todd Lyons, Kristi Noem, Marco A. Rubio,
                Pamela Bondi. (Attachments: # 1 Exhibit A, # 2 Exhibit B, # 3 Exhibit C)(Drescher,
                Michael) (Entered: 04/28/2025)
04/28/2025   43 ORDER granting 36 MOTION for Admission Pro Hac Vice of Nathan Freed Wessler,
                Brett Max Kaufman, Brian Hauss, Esha Bhandari, Noor Zafar and Sidra Mahfooz.
                Signed by District Judge Geoffrey W. Crawford on 4/28/2025. (This is a text−only
                Order.) (jal) (Entered: 04/28/2025)
04/28/2025   44 NOTICE OF DOCKET ENTRY CORRECTION re: 23 MOTION for Leave to File an
                Amicus Curiae Brief. Appendix I has been replaced with an amended version to revise
                a footnote. The revised document is now attached to 23 and this entry. (sjl) (Entered:
                04/28/2025)
04/29/2025   45 REPLY to Response to 19 MOTION for Release Under Mapp v. Reno filed by
                Mohsen Mahdawi. (Attachments: # 1 Exhibit 2 (Redacted), # 2 Exhibit 3 (Redacted), #
                3 Exhibit 4, # 4 Exhibit 5) (Allard, Monica) Modified on 4/29/2025 to clarify
                attachments (sjl). (Additional attachment(s) added on 4/29/2025: # 5 Exhibit 2 (filed
                under seal), # 6 Exhibit 3 (filed under seal)) (sjl). (Entered: 04/29/2025)
04/29/2025   46 SUPPLEMENTAL DOCUMENT(S) Exhibit 1 re: 45 REPLY to Response to 19
                MOTION for Release Under Mapp v. Reno by Mohsen Mahdawi. (Allard, Monica)
                Modified on 4/29/2025 to clarify event/text (sjl). (Entered: 04/29/2025)
04/29/2025   47 UNOPPOSED MOTION to File Under Seal Exhibits 2 & 3 re: 45 REPLY to Response
                to 19 MOTION for Release Under Mapp v. Reno filed by Mohsen Mahdawi(Ernst,
                Lia) Modified on 4/29/2025 to clarify text (sjl). (Entered: 04/29/2025)
04/29/2025   48 NOTICE OF DOCKET ENTRY CORRECTION re: 45 REPLY to Response to 19
                MOTION for Release Under Mapp v. Reno. Unredacted copies of Exhibits 2 and 3
                having been received are now attached to 45 under seal. (sjl) (Entered: 04/29/2025)
04/29/2025   49 ORDER: re 45 REPLY to Response to 19 MOTION for Release Under Mapp v. Reno;
                The court requests that the Government produce FBI SA Marc Emmons at the court
              Case: 25-1113, 05/01/2025, DktEntry: 1.1, Page 9 of 9

                 hearing on 4/30/25 to provide testimony concerning his investigation of Mr. Mahdawi
                 in 2015. Signed by District Judge Geoffrey W. Crawford on 4/29/2025. (This is a
                 text−only Order.)(jal) (Entered: 04/29/2025)
04/29/2025   50 ORDER granting 47 MOTION to File Under Seal Exhibits 2 & 3 re: 45 REPLY to
                Response to 19 MOTION for Release Under Mapp v. Reno. Signed by District Judge
                Geoffrey W. Crawford on 4/29/2025. (This is a text−only Order.) (jal) (Entered:
                04/29/2025)
04/29/2025   51 NOTICE of Supplemental Authority by Mohsen Mahdawi re 19 MOTION for Release
                Under Mapp v. Reno (Attachments: # 1 Khalil v. Joyce, # 2 American Association of
                University Professors v. Rubio) (Ernst, Lia) (Attachments 1 and 2 replaced and text
                clarified on 4/30/2025) (sjl). (Entered: 04/29/2025)
04/30/2025   52 NOTICE OF DOCKET ENTRY CORRECTION re: 51 Notice of Supplemental
                Authority. Attachments 1 and 2 have been replaced to remove illegible PDF headers.
                The corrected documents are now attached to 51 and this entry. (Attachments: # 1
                American Association of University Professors v. Rubio) (sjl) (Entered: 04/30/2025)
04/30/2025   53 MINUTE ENTRY for proceedings held before District Judge Geoffrey W. Crawford:
                Motion Hearing held on 4/30/2025 re 19 MOTION for Release Under Mapp v. Reno.
                Attorneys D. Isaacson, L. Droubi, M. Melewski, A. Delaney, and S. Dallal present
                with petitioner. M. Drescher, AUSA present on behalf of respondents. Court makes
                inquiries and counsel make statements re: court's receipt of ex−parte communications
                re: case, potential testimony of FBI S/A Marc Emmons (retired), Windsor Police
                Department report, and closing of FBI file re: Petitioner. Court makes findings.
                ORDERED: Parties defer to the court's discretion to not disclose ex−parte
                communications. The court's review and parties statements about the Windsor Police
                Department report and closing of FBI file obviates the need for S/A Emmons to testify.
                Respondent makes Oral Motion to Stay Release for 7 Days if the court sets conditions
                of release. Court makes inquiries and counsel make statements re: 19 MOTION for
                Release Under Mapp v. Reno. Court makes findings. ORDERED: 19 MOTION for
                Release Under Mapp v. Reno is granted. Respondents Oral Motion to Stay Release for
                7 Days is denied. Petitioner to be released immediately. Court to issue written
                findings. (Court Reporter: Johanna Masse) (eh) (Entered: 04/30/2025)
04/30/2025   54 OPINION AND ORDER granting 19 MOTION for Release Under Mapp v. Reno.
                Signed by District Judge Geoffrey W. Crawford on 4/30/2025. (sjl) (Entered:
                04/30/2025)
04/30/2025   55 NOTICE OF APPEAL as to 34 Order Extending Temporary Restraining Order, 54
                Opinion and Order on Motion for Release by Donald J. Trump, Patricia Hyde, J Doe,
                Todd Lyons, Kristi Noem, Marco A. Rubio, Pamela Bondi. (Drescher, Michael) Text
                clarified on 4/30/2025 (law). (Entered: 04/30/2025)
